      Case 1:09-cr-10005-PBS Document 83 Filed 01/19/10 Page 1 of 9



                   UNITED STATES DISTRICT COURT
                     DISTRICT OF MASSACHUSETTS

_______________________________
                               )
UNITED STATES OF AMERICA       )
                               )
          v.                   ) CRIMINAL ACTION NO. 09-10005-PBS
                               )
RONALD CAIRNIE,                )
                               )
                Defendant.     )
_______________________________)


                        MEMORANDUM AND ORDER

                           January 19, 2010

SARIS, U.S.D.J.

                           I.    INTRODUCTION

     Defendant Ronald Cairnie, charged with drug trafficking,

moves to suppress evidence found during the search of his green

2001 Audi as the fruit of an illegal arrest.        After an

evidentiary hearing, the motion is DENIED, as there was probable

cause to arrest.

                                II.   FACTS

     On September 18, 2008, during an undercover cocaine

investigation, Peabody Police Sergeant Scott Richards telephoned

co-defendant Hector O’Brien, who wanted to purchase Oxycodone.

They arranged to meet on September 19 at the Carriage House Motel

on Newbury Street, Peabody, Massachusetts.        Prior to the meeting,

O’Brien told Richards that he was in Room 74, he was alone, and

he had the money for the Oxycodone pills.

     Upon arriving at the motel, accompanied by a team of police
        Case 1:09-cr-10005-PBS Document 83 Filed 01/19/10 Page 2 of 9



officers, Richards noticed that the door to Room 74 was wide open

and that a green Audi A6 with Maine registration was parked

directly in front of it.      A man later identified as co-defendant

Earl Hart was just outside the room, joined shortly by co-

defendant James Lee, who came out of the room.          O’Brien called

Richards to say that Hart had the money and would handle the

sale.   Both Hart and O’Brien requested that the deal take place

in the motel room, but Richards declined.         (Mot. Hr’g Tr. 9-10,

Jan. 4, 2010.)     Hart got into Richards’ truck, but negotiations

soured after Richards refused to drive away from the motel

parking lot to another location.         Irate, Hart pulled a gun,

pointed it at Richards’ head, and attempted an armed robbery.            To

distract Hart, Richards threw the pills at him and sped away.

     Police officers pursued Hart into Room 74 where they found

Lee, O’Brien, and Ronald Cairnie, arresting all three.            The motel

room was small and untidy; a holster was in plain view and

needles were on the floor.       After the police read Cairnie his

Miranda warnings, he confessed that the Audi was his, consented

to a search of the car, and claimed that he sold the car earlier

that day to someone named “Alex.”         He did not know his last name

or possess paperwork.      At some point, the police discovered

Cairnie was the registered owner of the green Audi.           Although it

is unclear whether the police knew that information before or

after the arrest, the police knew it before seeking the search

warrant.   At the motel management’s request, the Audi was towed

                                     2
         Case 1:09-cr-10005-PBS Document 83 Filed 01/19/10 Page 3 of 9



to the police station.       During booking, the police found

approximately $2,100.00 in cash in Cairnie’s possession, folded

and secured by a rubber band.

     At the police station, the police interviewed Lee, who

explained: (1) Cairnie is Hart’s nephew and is from Maine; (2) he

was pretty sure Cairnie was either the buyer or wanted to be the

buyer of the pills; (3) Cairnie had supplied part of the money

Hart tried to use to pay for the pills; and (4) Cairnie often

buys pills in Massachusetts and sells them for a higher price in

Maine.    (Gov’t Ex. 1 at 6, ¶ 13.)       Lee also told the police that

he and Cairnie had talked at the police station, and that Cairnie

admitted having two hundred Oxycodone pills hidden in the Audi.

According to Lee, Cairnie said he had paid $38 for each eighty

milligram pill, and that Cairnie had given the police permission

to search his car because he did not think the police would find

the pills.     (Id. ¶ 14.)

     The Peabody Police included Lee’s statements in the

affidavit Richards submitted to secure a search warrant for

Cairnie’s car.      (See id. at 4-8.)     During the search, police

discovered 193 Oxycodone pills and a digital scale with powder

residue on it.      (Id. at 3.)




                                      3
      Case 1:09-cr-10005-PBS Document 83 Filed 01/19/10 Page 4 of 9



                           III.   DISCUSSION

A.   Probable Cause for Arrest

     “It is common ground that a warrantless arrest must be based

on probable cause.”   United States v. Brown, 500 F.3d 48, 56 (1st

Cir. 2007) (citations omitted); see also United States v. Watson,

423 U.S. 411, 417-18 (1976).      Probable cause for an arrest

“‘exists when the arresting officer, acting upon apparently

trustworthy information, reasonably concludes that a crime has

been (or is about to be) committed and that the putative arrestee

likely is one of the perpetrators.’”      Brown, 500 F.3d at 56

(quoting Acosta v. Ames Dep’t Stores, Inc., 386 F.3d 5, 9 (1st

Cir. 2004)); see also Beck v. Ohio, 379 U.S. 89, 91 (1964).

Courts examine the “totality of the circumstances” when

determining whether an arrest is supported by probable cause.

United States v. Torres-Maldonado, 14 F.3d 95, 105 (1st Cir.

1994) (quoting United States v. Uricoechea-Casallas, 946 F.2d

162, 165 (1st Cir. 1991)).

     Defendant argues that the police lacked probable cause to

arrest him even though he was in a motel room with men involved

in the drug deal.   Courts have considered propinquity a factor in

finding probable cause.    See, e.g., United States v. Reyes, 225

F.3d 71, 75-76 (1st. Cir. 2000) (stating that while an

“association might not alone give rise to probable cause, the

officers were plainly reasonable in considering it”).          “[A]


                                    4
      Case 1:09-cr-10005-PBS Document 83 Filed 01/19/10 Page 5 of 9



person’s mere propinquity to others independently suspected of

criminal activity does not, without more, give rise to probable

cause to search that person.”     Ybarra v. Illinois, 444 U.S. 85,

91 (1979) (holding association insufficient to support probable

cause where the defendant’s association with the illegal activity

was tenuous because the police had a warrant to search a bar and

the bartender, but arrested the defendant simply because he was a

patron).   Propinquity must indicate more than a “momentary,

casual, or random association.”      United States v.

Martinez-Molina, 64 F.3d 719, 729 (1st Cir. 1995).         “In assessing

the significance of a defendant’s association to others

independently suspected of criminal activity,” the First Circuit

examined “whether the known criminal activity was contemporaneous

with the association and whether the circumstances suggest that

the criminal activity could have been carried on without the

knowledge of all persons present.”      Id. at 727 (citing United

States v. Hillison, 733 F.2d 692, 697 (9th Cir. 1984)).

     In the instant case, the focus of the drug deal was Room 74

at the Carriage House Motel.     Cairnie was in the small motel room

with the three men engaged directly in the drug deal.          O’Brien

and Hart both urged Richards to enter Room 74 to consummate the

drug deal, and became irate when he refused.        The motel room door

was wide open, suggesting that the inhabitants had an interest in

the activities occurring outside.      Police discovered Cairnie in

Room 74 along with drug paraphernalia and an empty holster lying

                                   5
      Case 1:09-cr-10005-PBS Document 83 Filed 01/19/10 Page 6 of 9



in plain view.   These circumstances make it likely that Cairnie

was a participant in the drug transaction, and, as such, there

was probable cause to arrest him.

B.   Post-Arrest Statements

     Even if there were no probable cause to arrest, the

government argues that Lee’s post-arrest statements to the police

were sufficient to provide probable cause to search the Audi.

The defendant argues that all statements made by a defendant to

any individual must be suppressed if they are the result of an

illegal stop.    See United States v. Chanthasouxat, 342 F.3d 1271,

1281 (11th Cir. 2003) (suppressing statements defendant made to

co-defendant in the back of a police car because the stop was

illegal as fruit of the poisonous tree).

     The Supreme Court has held that not all evidence obtained

illegally is ‘fruit of the poisonous tree’ if it is “sufficiently

distinguishable to be purged of the primary taint.”         Wong Sun v.

United States, 371 U.S. 471, 488 (1963) (internal quotations

omitted).   In United States v. Houle, 620 F.2d 164, 165 (8th Cir.

1980) (per curiam), the court affirmed a ruling admitting

incriminating statements made by the defendant to a cellmate

approximately two hours after his unlawful arrest.         The Houle

court analyzed the defendant’s statements under Brown v.

Illinois, 422 U.S. 590, 602 (1975), holding “that in order for

the causal chain between the illegal arrest and a subsequent



                                   6
         Case 1:09-cr-10005-PBS Document 83 Filed 01/19/10 Page 7 of 9



statement to be broken, Wong Sun . . . requires that the

statement not only meet Fifth Amendment standards of

voluntariness, but that the statement be ‘sufficiently an act of

free will to purge the primary taint’ for Fourth Amendment

purposes.”     Houle, 620 F.2d at 165-66 (quoting Brown, 422 U.S. at

602).     Because his “statements were not prompted by coercion or

interrogation and were voluntarily made under circumstances

within Houle’s control; . . . they were sufficiently an act of

free will to purge the primary taint of the illegal arrest, and

thus were properly admitted.”        Id. at 166.

        The Court need not determine whether Cairnie’s statements to

Lee are admissible because there is probable cause to issue a

search warrant even if the challenged statements are excised.

        [T]he Supreme Court held that, if an affiant knowingly
        includes a false statement in a warrant affidavit, the
        warrant will stand if, “when material that is the
        subject of the alleged falsity or reckless disregard is
        set to one side, there remains sufficient content in
        the warrant affidavit to support a finding of probable
        cause.”

United States v. Veillette, 778 F.2d 899, 904 (1st Cir. 1985)

(quoting Franks v. Delaware, 438 U.S. 154, 171-172 (1978)).

     Richards’ affidavit distinguishes clearly between statements

by Lee based on knowledge obtained prior to the arrest and

information that Cairnie communicated to Lee after the arrest.

There are three post-arrest statements that Cairnie made to Lee

that arguably would be set aside if the arrest was unlawful: (1)

that Cairnie had 200 Oxycodone pills hidden in the Audi; (2) that

                                      7
      Case 1:09-cr-10005-PBS Document 83 Filed 01/19/10 Page 8 of 9



Cairnie had given the police permission to search the car because

he did not think they could find them; and (3) that Cairnie said

he paid $38.00 a piece for the 80mg Oxycodone or $3,800.00 for a

hundred pack.

     Even if these statements were excised, the remaining

information obtained from Lee is sufficient to support a finding

of probable cause to search the car for drug paraphernalia and

other evidence of drug trafficking.      Lee informed the police of

the following: (1) Cairnie was Hart’s nephew and is from Maine;

(2) he was pretty sure that Cairnie was either the buyer for the

pills or wanted to be the buyer of the pills; (3) part of the

money Hart had to pay for the pills was Cairnie’s and that he had

done this many times; and (4) Cairnie buys pills at a cheap price

in Massachusetts and sells them in Maine, possibly Portland, for

$80.00 a piece.   (Gov’t Ex. 1 at 6, ¶ 13.)       In addition to Lee’s

statements, the warrant affidavit describes that the drug

conspiracy revolved around Room 74, in which Cairnie was arrested

and in front of which his car was parked.       In considering the

warrant affidavit with the three post-arrest statements by

Cairnie set aside, the Court may find sufficient information to

support a finding of probable cause.




                                   8
 Case 1:09-cr-10005-PBS Document 83 Filed 01/19/10 Page 9 of 9



                      IV.   CONCLUSION

The motion to suppress [Docket No. 59] is DENIED.

                                 /s/ Patti B. Saris
                            _______________________________
                            PATTI B. SARIS
                            United States District Judge




                              9
